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  12
  13                              UNITED STATES DISTRICT COURT
  14                            CENTRAL DISTRICT OF CALIFORNIA
  15
  16   UNITED STATES OF AMERICA ex                               Case No. 2:17-cv-04393-RGK-
       rel. ISLAND INDUSTRIES, INC.,                             KS
  17
                         Plaintiffs,                             DEFENDANT SIGMA
  18                                                             CORPORATION’S
             v.                                                  AMENDED NOTICE OF
  19                                                             APPEAL TO THE UNITED
       VANDEWATER INTERNATIONAL                                  STATES COURT OF
  20   INC., et al.,                                             APPEALS FOR THE NINTH
                                                                 CIRCUIT
  21                     Defendants.
  22                                                             Judge: Hon. R. Gary Klausner
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                  DEFENDANT SIGMA CORPORATION’S AMENDED NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS FOR THE
                                                                                NINTH CIRCUIT (Case No. 2:17-cv-04393-RGK-KS)
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   1          NOTICE IS HEREBY GIVEN that Defendant Sigma Corporation (“Sigma”)
   2    hereby amends its Notice of Appeal to the United States Court of Appeals for the
   3    Ninth Circuit, filed with this Court on January 7, 2022 (Dkt. 442) and docketed in
   4    the United States Court of Appeals for the Ninth Circuit as Case No. 22-55063.
   5    With this Amended Notice, Sigma hereby appeals from the Final Judgment
   6    Following Jury Verdict (Dkt. 454), entered on February 8, 2022, and all
   7    interlocutory orders, rulings, and instructions that preceded this Order. A copy of
   8    the Order is attached hereto. Sigma expressly incorporates its prior Notice of
   9    Appeal in this Amended Notice.
  10          Sigma’s Representation Statement is attached to this Notice as required by
  11    Ninth Circuit Rule 3-2(b).
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        Dated: March 4, 2022                                  Respectfully submitted,
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                                                              WHITE & CASE LLP
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                                                              By: /s/ Lucius B. Lau
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                  DEFENDANT SIGMA CORPORATION’S AMENDED NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS FOR THE
                                                                                NINTH CIRCUIT (Case No. 2:17-cv-04393-RGK-KS)
